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                            UNITED STATES DISTRICT COURT
                                      FOR THE
                                DISTRICT OF VERMONT

 UNITED STATES OF AMERICA,                     Case No. 5:22-cr-58

                        Plaintiff,

                v.

 SERHAT GUMRUKCU,

                        Defendant.




              SERHAT GUMRUKCU’S MOTION TO LIMINE NO. 5:
          MOTION TO EXCLUDE UNNDISCLOSED RULE 404(B) EVIDENCE

       Defendant Serhat Gumrukcu, by and through his attorneys of record, respectfully moves

in limine for an Order precluding the Government from introducing undisclosed Rule 404(b)

evidence. Defendant Gumrukcu respectfully requests oral argument on this motion at the March

14 hearing at trial’s commencement.

       Pursuant the Court’s scheduling Order, the Government was directed to provide

defendant, by June 26, 2024, notice of the evidence it seeks to offer pursuant to Rule 404(b). See

Dkt. 181; see also Dkt. 183 at 17:17-18:7. The Government timely provided notice of its 14

categories of Rule 404(b) evidence it sought to admit, and the parties’ litigated the admissibility

of this evidence at a Pretrial Hearing held July 29, 2024. See Dkt. 195 (Transcript); see also Dkt.

185, 186, 190, 192 (briefing).

       The Government did not notice its intent to introduce other act evidence with respect to

defendant’s conduct in his work with and at Enochian Biosystems. Nor did it provide notice that

it would seek to introduce allegations of other act conduct presented in two published accounts in



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the November 2019 (Seeking Alpha and White Diamond reports), and another the week

following defendant’s indictment (Hindenberg report). We attach all three reports in Ex. A. 1

         But when the defense asked the Government to confirm that its so-called Enochian

evidence addresses defendant’s alleged motive for the charged homicide, the Government

declined. As to defendant’s concern that the prosecution would seek to introduce additional

other act evidence, pursuant to Fed. R. Evid. 404(b), from Enochian witnesses (and possibly

others), the Government disclaimed knowledge of any specific allegations and inquired further

of the defense. The defense then noted the obvious: if the Government was not aware of any

other act evidence arising from defendant’s conduct related to Enochian it would seek to

introduce at trial, then it necessarily agreed it would not be doing so. 2 This truth was buttressed

by the fact that the Court’s scheduling order required disclosure of its notice to introduce any and

all other act evidence no later than June 26, 2024. Nevertheless, the Government declined to so

agree.

         Because the time to provide notice of evidence to be introduced pursuant to Fed. R. Evid.

404(b) passed more than eight months ago, the Court should enforce its scheduling order and

preclude the prosecution from introducing any other act evidence not timely noticed and

addressed at the July 29, 2024 pretrial conference. This Order should include any testimony or




         1
         This morning, the Government informed us that it continues to seek to admit the White
Diamond Report, agreed that does not intend to offer the Hindenberg report, and remained silent
on the Seeking Alpha report. The White Diamond report begins on page 2 of Exhibit A,
followed by the Seeking Alpha report and the Hindenberg report.
         2
          Proving this point all the more, today the Government wrote that it needed the defense
to identify which allegations of fraud at Enochian the defendant is concerned about. But that
confession of ignorance only establishes the Government’s inability—even at this late date—to
identify and justify the introduction of any other act evidence connected to Defendant
Gumrukcu’s conduct at Enochian.
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exhibits alleging misconduct at Enochian and the three reports identified above pursuant to its

scheduling order, as well as Fed. R. Evid. 401, 402, and 403.

       Dated this 28th day of February 2025.
                                             Respectfully submitted,


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